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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                      MiddleDistrict
                                                 __________ District of
                                                                     of Georgia
                                                                        __________

                  United States of America
                             v.                                     )
                                                                    )        Case No.    4:22-MJ-114
                                                                    )
                                                                    )
               Joshuia Johnathon Luke Brown                         )
                                                                    )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Joshuia Johnathon Luke Brown                                                                        ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment         u Information        u Superseding Information             ✔ Complaint
                                                                                                                      u
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Title 18, United States Code, Section 922(g) Possession of a firearm by a prohibited person
  Title 18, United States Code, Section 115    Impeding a federal official




Date:         08/01/2022                                                                    s/ Charles H. Weigle
                                                                                           Issuing officer’s signature

City and state:       Macon, GA                                                  Charles H. Weigle, U.S. Magistrate Judge
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
